
Opinion
THE COURT.
We treat the petition as a motion to recall the remittitur in People v. Wein, 50 Cal.2d 383 [326 P.2d 457]. The motion is granted. The remittitur issued on June 27, 1958, is recalled. The judgment is vacated on counts 1, 5, 9, 14, 17, 18, 21, and is affirmed on all other counts. (People v. Daniels, 71 Cal.2d 1119, 1140 [80 Cal.Rptr. 897, 459 P.2d 225]; People v. Mutch, 4 Cal.3d 389 [93 Cal.Rptr. 721, 482 P.2d 633].)
Mosk, J., and Sullivan, J., did not participate.
